
PER CURIAM.
N.G. (“Appellant”) appeals the trial court’s entry of a final judgment terminating the parental rights to her children, G.R. and J.M. Appellant argues, and the Florida Department of Children and Families (“Appellee”) concedes, that the final judgment terminating Appellant’s parental rights does not contain the findings of fact required by law. See § 89.811(5), Fla. Stat. (2016) (“If the court terminates parental rights, the court shall enter a written order of disposition briefly stating the facts upon which its decision to terminate the parental rights is made.”).
This Court has carefully reviewed the record on appeal and noted that the trial transcript includes a detailed and thoughtful oral pronouncement by the trial court, which sets forth findings of fact, evaluations of witness credibility, as well as explanations of the court’s findings and conclusions of law. Section 39.811(5), however, requires the written order to state the facts upon which the trial court’s ruling is based. The final judgment entered in this case contains conclusions of law that are supported by the trial court’s oral statement of facts; however, the judgment does not adequately set forth the findings of fact. Accordingly, we remand for the trial court to enter an amended final judgment within twenty days of the date of this opinion that includes its findings of fact along with its previously stated conclusions of law and rulings.
REVERSED AND REMANDED WITH INSTRUCTIONS.
EVANDER, LAMBERT and EDWARDS, JJ., concur.
